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                                          10                              UNITED STATES DISTRICT COURT
                                          11                             NORTHERN DISTRICT OF CALIFORNIA
                                          12                                    OAKLAND DIVISION
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                          14   BITCOIN MANIPULATION ABATEMENT                 Case No.: 4:19-CV-07245-HSG
                                               LLC,
                                          15                                                  DECLARATION OF FIONA Y. TANG IN
                                                            Plaintiff,                        SUPPORT OF ALAMEDA RESEARCH
                                          16                                                  LLC’S REQUEST FOR JUDICIAL
                                                    vs.                                       NOTICE
                                          17
                                               FTX TRADING LTD, ALAMEDA                       Date:     February 13, 2020
                                          18   RESEARCH LLC, ALAMEDA RESEARCH                 Time:     2:00 p.m.
                                               LTD (BVI), SAMUEL BANKMAN-FRIED,               Dept:     Courtroom 2 – 4th Floor
                                          19   GARY WANG, ANDY CROGHAN,                       Judge:    Hon. Haywood S. Gilliam, Jr.
                                               CONSTANCE WANG, DARREN WONG, and
                                          20   CAROLINE ELLISON,
                                          21                Defendants.
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                                                TANG DECL. ISO ALAMEDA RESEARCH                               CASE NO. 4:19-CV-07245-HSG
                                                LLC’S RJN
                                                Case 4:19-cv-07245-HSG Document 26-1 Filed 12/12/19 Page 2 of 2



                                           1          I, Fiona Y. Tang, declare as follows:
                                           2          1.      I am an attorney admitted to practice before this Court and am an associate with

                                           3   the law firm of Fenwick & West LLP, counsel for defendant Alameda Research LLC in this

                                           4   action. I have personal knowledge of the matters set forth herein and if called upon I could and

                                           5   would testify competently thereto.

                                           6          2.      Attached as Exhibit A are true and correct copies of the Certificate of

                                           7   Organization of Transpacific IP Group LLC and the Certificate of Formation of a Limited

                                           8   Liability Company, filed with the Secretary of State of the Government of Puerto Rico on March

                                           9   13, 2019.

                                          10          3.      Attached as Exhibit B is a true and correct copy of the Certificate of Amendment

                                          11   certifying a name change from Transpacific IP Group LLC to Bitcoin Manipulation Abatement

                                          12   LLC, filed with the Secretary of State of the Government of Puerto Rico on November 2, 2019.
F ENWICK & W EST LLP




                                                      I declare under penalty of perjury under the laws of the United States of America and the
                       ATTORNEYS AT LAW




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                                          14   State of California that the foregoing is true and correct, and that this declaration was executed

                                          15   this 12th day of December, 2019 at San Francisco, California.

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                                                                                                     /s/ Fiona Y. Tang
                                          17                                                             Fiona Y. Tang

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                                                TANG DECL. ISO ALAMEDA RESEARCH                  1                       CASE NO. 4:19-CV-07245-HSG
                                                LLC’S RJN
